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11   Nibblers Popcorn Company LLC
12
                                UNITED STATES DISTRICT COURT
13                             EASTERN DISTRICT OF CALIFORNIA
14   BRIAN WHITAKER                       )        Case No.: 2:22-cv-00186-WBS-DB
                                          )
15           Plaintiff,                   )
                                          )        JOINT STIPULATION FOR
16     v.                                 )        DISMISSAL PURSUANT TO
17   NIBBLERS POPCORN COMPANY LLC, a ))            F.R.CIV.P. 41 (a)(1)(A)(ii)
     California Limited Liability Company )
18                                        )
             Defendants.                  )
19                                        )
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     Joint Stip re Dismissal             -1-              2:22-cv-00186-WBS-DB
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 1                                        STIPULATION
 2
 3          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between the
 4   parties hereto that this action may be dismissed with prejudice as to all parties; each
 5   party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as the
 6   matter has been resolved to the satisfaction of all parties.
 7
 8
 9   Dated: August 05, 2022                  CENTER FOR DISABILITY ACCESS
10
11                                           By: /s/ Amanda Seabock
                                             Amanda Seabock
12                                           Attorneys for Plaintiff
13
14   Dated: August 05, 2022                  Downey Brand LLP
15
16                                           By: /s/ Elizabeth B. Stallard ____________________
                                             Elizabeth B. Stallard
17                                           Attorneys for Defendant
                                             Nibblers Popcorn Company LLC,
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     Joint Stip re Dismissal                -2-              2:22-cv-00186-WBS-DB
      Case 2:22-cv-00186-WBS-DB        Document 15     Filed 08/05/22      Page 3 of 3



 1                              SIGNATURE CERTIFICATION
 2
 3   I hereby certify that the content of this document is acceptable to Elizabeth B. Stallard,
 4   counsel for Nibblers Popcorn Company LLC, and that I have obtained Attorney Stallard’s
 5   authorization to affix their electronic signature to this document.
 6
 7   Dated: August 05, 2022                  CENTER FOR DISABILITY ACCESS
 8
 9                                           By: /s/Amanda Seabock
                                             Amanda Seabock
10                                           Attorneys for Plaintiff
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     Joint Stip re Dismissal               -3-              2:22-cv-00186-WBS-DB
